Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative of the          CASE NO.: 9:18-cv-80176-BB/BR
   Estate of David Kleiman, and W&K Info Defense
   Research, LLC

                  Plaintiffs,

   v.

   CRAIG WRIGHT,

                  Defendant.


   MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO SUPPLEMENT
             THE COURT’S CIVIL JUROR QUESTIONNAIRE

         Plaintiffs Ira Kleiman, as the personal representative of the Estate of David Kleiman, and

  W&K Info Defense Research, LLC (“Plaintiffs”), hereby file this Memorandum in Opposition to

  Defendant’s Motion to Supplement the Court’s Civil Juror Questionnaire.

         This is not the first civil case this Court has tried nor does it present any exceptional issue

  that requires the Court to undo its usual procedure for selecting juries. Specifically, Defendant

  offers no reason to deviate from the Court’s bifurcated process whereby certain general

  information is elicited from jurors by way of a written questionnaire, and additional case-related

  information is elicited through oral voir dire. Indeed, this Court specifically allows the parties to

  submit case-specific questions for that oral voir dire process. See ECF Nos. [626] at 1, [476] at 2.

  Defendant should avail himself of that opportunity (as Plaintiffs intend to do).

         Defendant has identified no case in which a district court was held to have erred by refusing

  to incorporate a question into a written questionnaire rather than making it part of the oral voir dire

  process, and Plaintiffs have found no such case. Cf. United States v. Kemp, 500 F.3d 257, 302

  (3d Cir. 2007) (recognizing a preference in some circumstances for individualized oral questioning
Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 2 of 6




  over written questionnaires). “In federal court, wide discretion is vested in the trial judge as to the

  method of examination of jurors.” Kevin F. O’Malley, Jay E. Grenig & Hon. William C. Lee, 1

  Fed. Jury Prac. & Instruc. § 4:7 (6th ed. 2020). The discretion accorded to district courts to guide

  voir dire includes the discretion to decline to use a written jury questionnaire altogether. See

  United States v. Quinones, 511 F.3d 289, 300 n.8 (2d Cir. 2007) (declining to “hold that district

  judges are ever obligated to make use of” written jury questionnaires “in selecting juries”); United

  States v. Koowaa, 188 F.3d 504 (4th Cir. 1999) (unpublished table decision) (affirming a district

  court’s denial of request to submit written questionnaire to the jury panel); United States v.

  Salameh, 152 F.3d 88, 121 (2d Cir. 1998) (same); United States v. Bakker, 925 F.2d 728, 733

  (4th Cir. 1991) (same); NAACP v. Fla. Dep’t of Corr., No. 5:00-CV-100-OC-10GRJ, 2002 WL

  34708022, at *2 (M.D. Fla. Aug. 30, 2002) (denying a motion for a written jury questionnaire or

  leave for counsel to participate in voir dire but encouraging counsel “to submit in writing before

  trial any suggested voir dire examination counsel may wish to have the Court pursue” and stating

  that counsel would have an opportunity during the court’s voir dire to suggest supplemental

  questions); accord. United States v. Snipes, No. 5:06-CR-22-OC-10GRJ, 2007 WL 5041892, at *2

  (M.D. Fla. Dec. 24, 2007).

         The wisdom of the Court’s bifurcated approach is perhaps best illustrated by Defendant’s

  request that the subject of autism be added to the Court’s written questionnaire. As the Court is

  aware, Plaintiffs have expressed concern that Defendant will try to use his alleged autism diagnosis

  as a “get of jail free card” to wipe away the mountain of falsehoods he has told in this case and in

  the documents underlying the parties’ dispute. This Court recognized this potential misuse of

  Defendant’s alleged autism, ruling that Defendant’s autism expert, Dr. Ami Klin, may not opine
Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 3 of 6




  on whether “Defendant is sincere, truthful, respectful, a willing participant in the litigation process,

  or otherwise capable of manipulating others.” ECF No. [622] at 23.

          Even assuming that Defendant’s autism diagnosis is legitimate (something Plaintiffs do not

  concede), the import of the diagnosis is hotly contested. It would be inappropriate for the Court

  to highlight this issue in a written questionnaire that is otherwise generic and neutral, as doing so

  will connote to the jury that the Court considers the autism issue to be significant enough that it

  must be highlighted as the only case-related question (or one of two if Defendant’s other question

  requested in this motion is granted) that the Court chose to include in its questionnaire. This would

  effectively put the Court’s thumb on the scale in Defendant’s favor, tell jurors they should give

  weight to Dr. Wright’s autism claims, and prejudice the Plaintiffs. See United States v. Flores-

  Elias, 650 F.2d 1149, 1151 (9th Cir. 1981) (affirming limited questioning on a topic because more

  extended questioning “may have only fanned the embers of incipient prejudice by arousing

  curiosity”).

          Relatedly, Defendant asks for a question about whether the prospective jurors have heard

  of Satoshi Nakamoto or Dr. Wright under the guise that he is only seeking to discover whether

  jurors have heard of the case. Notably, the proposed question fails to ask whether juries have heard

  of David Kleiman, Dr. Wright’s self-professed partner in the Satoshi Nakamoto partnership. And

  the purposeful association of “Dr. Wright” with “Satoshi Nakamoto” while leaving out “David

  Kleiman,” when one of the major issues at trial is whether Dr. Wright and David Kleiman formed

  the Satoshi Nakamoto partnership, is clearly intended to influence the jury’s associations. See

  Marson v. United States, 203 F.2d 904, 909 (6th Cir. 1953) (identifying prejudicial error in court

  during voir dire asking about knowledge of a defendant with respect to criminal activities for which
Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 4 of 6




  the defendant had not been convicted). Defendant’s proposed questionnaire addition will again,

  stand out, in the context of a series of generic, neutral questions.

          In any event, this question is likewise not needed in the written questionnaire. The jurors

  will hear a brief description of the case from the Court that will likely reflect the proposals included

  in the parties’ pretrial statement. ECF No. [617] at 1-5. Once the potential jurors hear that

  description, they will likely be asked what, if anything, they have heard about the case. See also

  ECF No. [476] at 1 (directing submission of a list of witnesses “to help the prospective jurors

  determine whether they recognize a potential witness”).

          In short, potential jurors’ knowledge of the case will and should be covered during the

  Court’s oral voir dire process, and there is no need to ask some, but not all, case-related questions

  in the written juror questionnaire – especially when those case-related questions are so patently

  attempts to influence the jury prior to trial.

  Dated: January 27, 2021                                Respectfully submitted,

                                                         /s/ Andrew. S. Brenner.
                                                         Andrew S. Brenner, Esq.
                                                         BOIES SCHILLER FLEXNER LLP
                                                         100 SE 2nd Street, Suite 2800
                                                         Miami, Florida 33131
                                                         abrenner@bsfllp.com

                                                         Velvel (Devin) Freedman, Esq.
                                                         ROCHE CYRULNIK FREEDMAN LLP
                                                         200 S. Biscayne Blvd.
                                                         Suite 5500 Miami, Florida 33131
                                                         vel@rcfllp.com
                                                         nbermond@rcfllp.com

                                                         Kyle W. Roche, Esq.
                                                         Joseph M. Delich
                                                         ROCHE CYRULNIK FREEDMAN LLP
                                                         99 Park Avenue, 19th Floor
                                                         New York, New York 10016
                                                         kyle@rcfllp.com
                                                         jdelich@rcfllp.com
Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 5 of 6




                                          Counsel to Plaintiffs Ira Kleiman as
                                          Personal Representative of the Estate of
                                          David Kleiman and W&K Info Defense
                                          Research, LLC.
Case 9:18-cv-80176-BB Document 634 Entered on FLSD Docket 01/27/2021 Page 6 of 6




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 27, 2021, a true and correct copy of the foregoing
  was filed with CM/ECF, which caused a copy to be served on all counsel of record.




                                                    /s/ Andrew S. Brenner
                                                    ANDREW S. BRENNER
